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  NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   SMITH & WESSON BRANDS, INC., SMITH
   & WESSON SALES COMPANY, and SMITH
   & WESSON INC.,
                                                        No. 20cv19047 (EP) (ESK)
          Plaintiffs,
                                                        OPINION
   v.

   GURBIR S. GREWAL, in his official capacity
   as Attorney General of the State of New Jersey,
   and NEW JERSEY DIVISION OF
   CONSUMER AFFAIRS,

          Defendants.


  PADIN, District Judge.

         Presently before the Court is Defendants Gurbir S. Grewal and New Jersey Division of

  Consumer Affairs’ (collectively, the “State’s”) motion to dismiss Plaintiffs Smith & Wesson

  Brands, Inc., Smith & Wesson Sales Company, and Smith & Wesson Inc.’s (collectively,

  “S&W’s”) amended complaint. D.E. 66. The Court has reviewed the parties’ submissions and

  decides the motion without oral argument. See Fed. R. Civ. P. 78(b); L.Civ.R. 78.1(b). For the

  reasons stated below, the State’s motion is GRANTED.

  I.     BACKGROUND

         A. The Attorney General and the New Jersey Consumer Fraud Act

         The New Jersey Consumer Fraud Act (“NJCFA”), N.J.S.A. § 56:8-1, et seq., states that

  “[t]he act, use or employment by any person of any unconscionable commercial practice,

  deception, fraud, false pretense, false promise, misrepresentation, or the knowing, concealment,
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  suppression, or omission of any material fact with intent that others rely upon such concealment,

  suppression or omission, in connection with the sale or advertisement of any merchandise . . .

  [constitutes] an unlawful practice.” N.J.S.A. § 56:8-2. The NJCFA provides the New Jersey

  Attorney General with broad investigative powers to explore whether companies are committing

  NJCFA-defined “unlawful practices.” See N.J.S.A. § 56:8-3 (detailing the circumstances under

  which the Attorney General may investigate, and the actions he may take in furtherance of that

  investigation). The NJCFA also expressly empowers the Attorney General to issue subpoenas to

  aid in any such investigation. See N.J.S.A. § 56:8-4.

          B. The State’s October 13, 2020 Subpoena

          On October 13, 2020, the New Jersey Division of Consumer Affairs and then-New Jersey

  Attorney General Gurbir S. Grewal served a subpoena duces tecum on S&W pursuant to the

  NJCFA (the “Subpoena”). D.E. 66-2 at PageID: 1885-98.             The Subpoena requests that S&W

  produce a multitude of documents, including, but not limited to: (1) all advertisements for S&W’s

  merchandise that relate to home safety, concealed carry, personal protection, personal defense,

  personal safety, or home defense benefits of a firearm that were accessible in New Jersey; (2) all

  documents concerning any test, study, analysis, or evaluation considered or undertaken by S&W

  that relate to the claims made in those advertisements; and (3) all documents concerning: (i)

  whether S&W firearms can be legally carried and concealed while in New Jersey; (ii) whether the

  concealed carry of a firearm enhances one’s lifestyle; (iii) whether it is safer to confront a perceived

  threat by drawing a firearm rather than seeking to move away; (iv) whether having a firearm makes

  a home safer; (v) whether S&W firearms are designed to be more safe, reliable, accurate, or

  effective than non-S&W-manufactured firearms for use in personal or home defense or other




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  activities; and (vi) whether novice, untrained consumers could successfully and effectively use an

  S&W firearm for personal or home defense. Id. at PageID: 1896.

         The Subpoena originally had a November 13, 2020 return date, which was extended thirty

  days at S&W’s request. Id. at PageID: 1900-03. On December 14, 2020, S&W produced no

  documents in response to the Subpoena; it instead responded in writing to the State, citing its

  various constitutional objections to the document demands within the Subpoena. Id. at PageID:

  1905-28.

         C. S&W’s December 15, 2020 Initiation of a Federal Civil Rights Lawsuit in District
            Court, and the State’s Initiation of a Subpoena Enforcement Action in New Jersey
            Superior Court on February 12, 2021

         On December 15, 2020 – the day after S&W’s Subpoena response deadline passed – S&W

  filed a § 1983 civil rights complaint against the State in New Jersey District Court (the “District

  Court Action”). D.E. 1. S&W, by way of that pleading, avers that although the Subpoena purports

  to seek evidence of consumer fraud related to S&W’s advertising, “in reality, it seeks to suppress

  and punish lawful speech regarding gun ownership in order to advance an anti-Second Amendment

  agenda that the Attorney General publicly committed to pursue.” Id. ¶ 2. S&W avers that the

  Attorney General’s Subpoena, and his associated initiation of an NJCFA-rooted investigation of

  S&W, “have violated [S&W’s] First, Second, Fourth, Fifth, and Fourteenth Amendment rights.”

  Id. ¶ 159. S&W’s original federal pleading alleges separate causes of action for the State’s

  purported violations of each of these Amendments. See id. at Counts I-III, V-VII. S&W’s initial

  complaint also claims that the State’s Subpoena and related investigation violates the Second and

  Fourteenth Amendment rights of “citizens” (Count IV), is preempted by the Protection of Lawful

  Commerce in Arms Act (“PLCAA”), 15 U.S.C. § 7901, et seq. (Count VIII), violates the Dormant




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  Commerce Clause (Count IX), represents an abuse of process (Count X), and asks the District

  Court to enjoin enforcement of the Subpoena (Count XI). Id.

           On February 12, 2021, the State initiated a separate summary action in New Jersey Superior

  Court to enforce the Subpoena, Grewal v. Smith & Wesson Sales Co., Inc., Case No. ESX-C-25-

  21 (the “Superior Court Action”). D.E. 66-2 at PageID: 1851-2004.

           D. S&W’s March 10, 2021 Amendment of Its District Court Pleading and the State’s
              April 26, 2021 Motion to Dismiss the Same

           On March 10, 2021, S&W amended its pleading in the District Court Action to assert

  additional First Amendment-based § 1983 claims rooted in S&W’s assertion that the State’s

  initiation of the Superior Court Action was done in retaliation for S&W’s commencement of the

  District Court Action. D.E. 17 at Counts I, II, and V. All of S&W’s earlier-asserted claims in the

  District Court Action, detailed above, also remain in S&W’s amended pleading, albeit at different

  count numbers. See id. at Counts III, IV, and VI-XIII.

           On April 26, 2021, the State moved to dismiss S&W’s amended complaint in the District

  Court Action. D.E. 29. The State, by way of that motion, requested, inter alia, that the District

  Court decline to exercise jurisdiction over the parties’ federal lawsuit based on Younger 1

  abstention. D.E. 29. On May 17, 2021, S&W filed its opposition to the State’s April 26, 2021

  motion to dismiss. D.E. 30. The State submitted its reply on June 7, 2021. D.E. 33. And S&W

  sur-replied on June 21, 2021. D.E. 34.

           E. S&W’s March 11, 2021 Filing of Cross-Motion to Dismiss, Stay or Quash the
              Subpoena in the Superior Court Action

           On March 11, 2021 – the day after it amended its pleading in the District Court Action –

  S&W filed a cross-motion to dismiss, stay, or otherwise quash the Subpoena in the Superior Court



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      Younger v. Harris, 401 U.S. 37 (1971).
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  Action. D.E. 66-2 at PageID: 2006-07. S&W’s brief in support of that cross-motion, see id. at

  PageID: 2009-52, expressly claims that “threshold issues regarding the constitutionality of the

  Subpoena in the first instance must be resolved before any decision to enforce it may be made.”

  Id. at PageID: 2019. S&W appended a copy of both its original and amended federal pleadings to

  its cross-motion in the Superior Court Action. See id. at PageID: 2022; id. at PageID: 2025.

  S&W’s state court brief also expressly cross-references the substantive assertions made in its

  federal pleadings. See id. at PageID: 2025 (“on its face, the Subpoena demonstrates what the

  Federal Complaint alleges – that it targets [S&W’s] First Amendment opinions on topics of current

  public debate or Second Amendment issues.”). Indeed, S&W notes that its [original] federal

  complaint “sets forth in extensive detail, supported by citations to the public record, precisely why

  the Subpoena and the requests contained therein are unconstitutional, and precisely why [S&W]

  was justified in objecting to the Subpoena.” Id. at PageID: 2022. S&W, in so doing, advanced all

  of the same constitutional arguments against enforcement of the Subpoena in the Superior Court

  Action that it has advanced in the District Court Action.

         F. The Superior Court’s Resolution of the State’s Subpoena Enforcement Action

         On May 27, 2021, New Jersey Superior Court Judge Jodi Lee Alper held oral argument on

  the State’s application to enforce, and S&W’s cross-motion to quash, the October 13, 2020

  Subpoena. Id. at PageID: 2307-59.

         On June 30, 2021, Judge Alper entered two orders in the Superior Court Action: (1) an

  order denying S&W’s cross-motion to dismiss the state court complaint and quash the subpoena,

  see id. at PageID: 2054; and (2) an order requiring S&W to respond fully to the October 13, 2020

  Subpoena within 30 days, see id. at PageID: 2153. Judge Alper also issued an accompanying 13-

  page statement of reasons. Id. at PageID: 2055-67. There, Judge Alper expressly found that



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  “special equities justif[ied] continuation of the [Superior Court Action,]” particularly because

  S&W’s initiation of the District Court Action occurred after the State issued the Subpoena, but

  before the State “had the opportunity to initiate a subpoena enforcement action.” Id. at PageID:

  2062; see also Wearly v. F.T.C., 616 F.2d 662, 665 (3d Cir. 1980) (“Resort to a court by recipients

  of investigative subpoenas before an action for enforcement has commenced is generally

  disfavored.”) (cited by Judge Alper). Her Honor also found that the Subpoena was valid and

  enforceable. D.E. 66-2 at PageID: 2063-65. In addition, Judge Alper expressly rejected S&W’s

  claims that the “[S]ubpoena itself violates constitutional rights.” Id. at PageID: 2066.

          On July 21, 2021, Judge Alper held a hearing on S&W’s motion to stay enforcement of the

  Superior Court’s June 30, 2021 Subpoena enforcement order pending S&W’s appeal of that

  decision. Id. at PageID: 2170-92. During that hearing, Judge Alper: (1) confirmed that the

  deadline for S&W to respond to the Subpoena was August 2, 2021, see id. at PageID: 2191; and

  (2) denied S&W’s stay application, see id. at PageID: 2186. Judge Alper issued a formal order

  denying S&W’s request on the same day. Id. at PageID: 2168-69.

          On July 26, 2021, S&W filed an emergent application with the Appellate Division to stay

  Judge Alper’s order compelling S&W to respond to the Subpoena within 30 days of June 30th.

  See id. at PageID: 2198. On July 29, 2021, Judge Lisa A. Firko of the Appellate Division issued

  a three-page decision denying S&W’s emergent application. Id. at PageID: 2198-2200. Judge

  Firko, in so doing, incorporated many of the same findings “set forth in the trial court’s

  comprehensive written decision.” Id. at PageID: 2200. S&W’s subsequent application to the New

  Jersey Supreme Court for a stay pending appeal was denied on August 9, 2021. Id. at PageID:

  2201.




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         G. S&W’s Subsequent Request for Injunctive Relief in District Court

         On July 30, 2021 – the day after the Appellate Division denied S&W’s emergent stay

  application in state court – S&W filed an emergent application in this Court by which it sought to

  enjoin enforcement of Judge Alper’s June 30, 2021 order directing S&W to comply with the

  Subpoena. D.E. 41 at PageID: 1029-30. The State submitted its opposition to the same on August

  2, 2021. D.E. 44.

         On August 2, 2021, Judge Neals held a hearing that touched upon both S&W’s July 30,

  2021 emergent application and the State’s April 26, 2021 motion to dismiss. D.E. 48. He

  ultimately found that the principles of Younger countenanced against exercising federal

  jurisdiction over the dispute between S&W and the State. Id. at 33-34. Judge Neals accordingly

  dismissed S&W’s case and declined to grant S&W’s request for injunctive relief. Id. In addition

  to his oral rulings on August 2, 2021, Judge Neals also entered a written opinion and order formally

  dismissing S&W’s case. D.E.s 46, 47.

         H. S&W’s Appeal of Judge Neals’ August 2, 2021 Dismissal and the Third Circuit’s
            Subsequent Remand to District Court

         S&W appealed Judge Neals’ August 2, 2021 dismissal ruling to the Third Circuit on

  August 9, 2021. On March 10, 2022, the Third Circuit reversed, finding that this was not an

  “exceptional” case in which Younger abstention was appropriate. See Smith & Wesson Brands,

  Inc. v. Att’y Gen. of New Jersey, 27 F.4th 886, 896 (3d Cir. 2022). The Third Circuit also, however,

  noted that “[f]ederal courts owe due respect to state courts.” Id.

         I. The State’s Renewed Motion to Dismiss

         On May 27, 2022, the State filed a second, now-pending motion to dismiss S&W’s

  amended complaint. D.E. 66. The State, by way of that motion, requests that the Court dismiss

  this matter based on principles of res judicata. More specifically, the State avers that “preclusion

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  principles require this Court to stay or dismiss this duplicative litigation.” D.E. 66-1 at 9. The

  State asserts that if the Court declines to dismiss and/or stay this matter based on preclusion, then

  dismissal is also appropriate for the reasons detailed by the State in its original April 26, 2021

  motion to dismiss, which, in addition to the State’s now-defunct Younger argument, presents a

  plethora of reasons why the claims in S&W’s amended complaint fail to state a claim under Rule

  12(b)(6). See D.E. 29-1.

          On June 13, 2022, S&W filed its opposition to the State’s renewed motion to dismiss. D.E.

  67. S&W avers that because of the expedited and summary nature of the Superior Court Action,

  it did not receive a full and fair opportunity to litigate the constitutional claims that are the subject

  of its amended federal complaint. D.E. 67 at 8-10. It avers, for example, that “[f]ulsome discovery

  was not possible in the specialized summary action,” but it is available in the District Court Action.

  D.E. 67 at 10. S&W, in short, claims that “[t]he procedural and substantive weaknesses, which

  are inherent in summary actions, make such actions inappropriate for the application of

  preclusion.” D.E. 67 at 11. On June 21, 2022, the State replied. D.E. 67. On July 1, 2022, S&W

  filed a sur-reply. 2 D.E. 71-1. On July 18, 2022, the State responded to S&W’s sur-reply. D.E.

  73.

  II.     LEGAL STANDARD

          Rule 12(b)(6) of the Federal Rules of Civil Procedure provides for the dismissal of a

  complaint if it fails to state a claim upon which relief can be granted. Under Rule 12(b)(6), relief

  may not be granted when a suit is barred on res judicata grounds. Dunleavy v. Gannon, No. 2:11-

  CV-0361 DMC MF, 2011 WL 5321004, at *2 (D.N.J. Nov. 1, 2011). When a prior case has been




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   S&W, at the time of that filing, also formally moved for permission to file the same. See D.E.
  71. That motion is granted.
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  adjudicated in state court, federal courts must give “full faith and credit” to the state court’s

  judgment. 28 U.S.C. § 1738; see also Balthazar v. Atl. City Med. Ctr., 279 F. Supp. 2d 574, 584

  (D.N.J. 2003). And res judicata 3 bars re-litigation of an issue that has already been determined on

  the merits by a court of competent jurisdiction. Balthazar, 279 F. Supp. 2d at 585. In order for

  res judicata to apply, there must be: (1) a valid, final judgment on the merits in the prior action;

  (2) the actions must involve the same parties; and (3) the second claim must arise out of the same

  transaction as did the claim in the first action. United States v. 5 Unlabeled Boxes, 572 F.3d 169,

  173 (3d Cir. 2009); see also EEOC v. U.S. Steel Corp., 921 F.2d 489, 493 (3d Cir. 1990).

  III.   ANALYSIS

         The State avers that the Court should “dismiss this federal action because preclusion

  principles bar [S&W] from proceeding with duplicative claims in this Court.” D.E. 66-1 at 9.

  More specifically, it argues that the New Jersey Superior Court’s “June 30, 2021 order rejecting

  [S&W’s] constitutional arguments is a final judgment that precludes relitigation of the same claims

  and issues in this case.” Id. For the reasons that follow, the Court agrees.

         A. Relevant Res Judicata Considerations

         Federal courts are required to “give preclusive effect to state-court judgments whenever

  the courts of the [s]tate from which the judgments emerged would do so.” Allen v. McCurry, 449

  U.S. 90, 96 (1980). New Jersey recognizes the doctrine of res judicata, also known as claim

  preclusion. Wadeer v. N.J. Mfrs. Ins. Co., 220 N.J. 591, 606 (2015); see also McNeil v. Legis.

  Apportionment Comm’n, 177 N.J. 364, 395 (2003) (“The concept that a party is required to bring




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    There is often confusion as to the precise definitions of res judicata and collateral estoppel. To
  clarify, the term res judicata, when used narrowly, refers to claim preclusion; the term collateral
  estoppel, on the other hand, customarily refers to issue preclusion. United States v. 5 Unlabeled
  Boxes, 572 F.3d 169, 173-74 (3d Cir. 2009).
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all possible claims in one proceeding is embodied in the closely linked concepts of res judicata

and the entire controversy doctrine.”); Long v. Lewis, 318 N.J. Super. 449, 459 (App. Div. 1999)

(“The claim preclusion aspect of the entire controversy doctrine is essentially res judicata by

another name.”). Under both federal law and New Jersey law, “claim preclusion requires that (1)

the judgment in the prior action must be valid, final, and on the merits; (2) the parties in the later

action must be identical to or in privity with those in the prior action; and (3) the claim in the later

action must grow out of the same transaction or occurrence as the claim in the earlier one.” McNeil,

177 N.J. at 395 (citation omitted). “Claim preclusion applies not only to matters actually

determined in an earlier action, but to all relevant matters that could have been so determined.”

Id. (citation omitted). Further, “where the same cause of action is pursued in different courts, the

first judgment rendered is res judicata of the matter, irrespective of the order in which the cases

were commenced, and becomes a bar in the second suit.” Heulitt v. W. Michigan Plumbing &

Heating, Inc., 638 A.2d 153, 154 (N.J. Super. Ct. App. Div. 1994) (citing, inter alia, Restatement

(Second) of Judgments § 14 (1982)).

        Here, the Court finds – and the parties appear to agree – that Judge Alper’s June 30, 2021

order compelling S&W to respond to the Subpoena represents a prior final judgment on the merits

in a suit involving the same parties, and thus, that the first two res judicata elements are satisfied.

Where the parties’ positions differ sharply is whether the third element is satisfied, i.e., whether

the claims in the District Court Action arise out of the same transaction as the claims that are the

subject of the Superior Court Action.

        For purposes of determining what constitutes a “cause of action” for purposes of satisfying

the third res judicata element, a court looks to “the essential similarity of the underlying events

giving rise to the various legal claims.” Sheridan v. NGK Metals Corp., 609 F.3d 239, 261 (3d



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Cir. 2010). “[T]he focus is on ‘whether the acts complained of were the same, whether the material

facts alleged in each suit were the same, and whether the witnesses and documentation required to

prove such allegations were the same.’” Shah v. United States, 540 F. App’x 91, 94 (3d Cir. 2013)

(quoting Lurizol Corp. v. Exxon Corp., 929 F.2d 960, 963 (3d Cir. 1991)); accord Culver v. Ins.

Co. of North America, 115 N.J. 451, 461-62 (1989) (“To decide if two causes of action are the

same, the court must consider: (1) whether the acts complained of and the demand for relief are

the same (that is, whether the wrong for which redress is sought is the same in both actions); (2)

whether the theory of recovery is the same; (3) whether the witnesses and documents necessary at

trial are the same (that is, whether the same evidence necessary to maintain the second action

would have been sufficient to support the first); and (4) whether the material facts alleged are the

same.”) (internal citations omitted) (emphasis in original). “A mere difference in the theory of

recovery is not dispositive.” Lurizol Corp., 929 F.2d at 963.

       B. S&W’s Claims Opposing Res Judicata Are Contradicted By the Record

       Here, S&W avers that the third element of res judicata is not satisfied because the claims

raised in S&W’s federal civil rights complaint are sufficiently distinct from the claims at issue

before the Superior Court. S&W specifically asserts that (1) “the acts complained of and demands

for relief [sought in the Superior Court Action and the District Court Action] are different;” (2)

“the two proceedings concern different theories of recovery;” (3) “the evidence required in each

proceeding is different;” and (4) “the material facts are entirely different.” D.E. 67 at 15-16. S&W,

in making these assertions conveniently ignores that its amended federal pleading, at its core,

requests that this Court enjoin the State from enforcing the Subpoena and declare that the Subpoena

and the Attorney General’s related CFA investigation violate S&W’s constitutional rights, see




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D.E. 17 at ¶¶ 218-23, which is essentially the exact same relief it sought in the Superior Court

Action when it cross-moved to quash the Subpoena.

       S&W likewise ignores that it already raised all of the same constitutional arguments in

Superior Court that it is now attempting to have this Court adjudicate. Indeed, S&W appended

and expressly incorporated-by-reference both of its federal pleadings to its state court motion. It

also explicitly advised the Superior Court that its federal complaint “sets forth in extensive detail,

supported by citations to the public record, precisely why the Subpoena and the requests contained

therein are unconstitutional, and precisely why [S&W] was justified in objecting to the Subpoena.”

D.E. 66-2 at PageID: 2022.

       S&W further disregards that it explicitly argued to the Superior Court that “threshold issues

regarding the constitutionality of the Subpoena in the first instance must be resolved before any

decision to enforce it may be made.” D.E. 66-2 at PageID: 2019. And that Judge Alper expressly

rejected S&W’s claims that the “[S]ubpoena itself violates constitutional rights.” D.E. 66-2 at

PageID: 2066. S&W, in other words, had the opportunity to – and did in fact – present the

threshold constitutional arguments, with numerous citations to the public record, in the Superior

Court Action; that Judge Alper disagreed that S&W’s “threshold” constitutional arguments

prevented the State from enforcing the Subpoena does not change this fact.

       S&W’s assertion that it has reserved its right to litigate its constitutional claims in federal

court pursuant to England v. Louisiana State Board of Medical Examiners, 375 U.S. 411 (1964),

see D.E. 67 at 20-22, also fails when accounting for the foregoing considerations. In England, the

Supreme Court “held that when a federal court abstains from deciding a federal constitutional issue

to enable the state courts to address an antecedent state-law issue [pursuant to Railroad Comm’n

of Texas v. Pullman Co., 312 U.S. 496 (1941) and its progeny], the plaintiff may reserve his right



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to return to federal court for the disposition of his federal claims.” San Remo Hotel, L.P. v. City

& Cnty. of San Francisco, Cal., 545 U.S. 323, 339 (2005) (citing England, 375 U.S. at 419). In

England, “the antecedent state issue requiring abstention was distinct from the reserved federal

issue.” Id. (citing England, 375 U.S. at 418-19). “‘Typical’ England cases generally involve

federal constitutional challenges to a state statute that can be avoided if a state court construes the

statute in a particular manner.” Id. “[T]he purpose of [such] abstention is not to afford state courts

an opportunity to adjudicate an issue that is functionally identical to the federal question. To the

contrary, the purpose of Pullman abstention in such cases is to avoid resolving the federal question

by encouraging a state-law determination that may moot the federal controversy.” Id. The

Supreme Court has also “made it perfectly clear that the effective reservation of a federal claim

[under England is] dependent on the condition that plaintiffs take no action to broaden the scope

of the state court’s review beyond decision of the antecedent state-law issue.” Id. at 340.

       Here, this Court never concluded that federal claims asserted by S&W in its federal

pleadings could be mooted by resolution of a distinct state-law issue. See Atwater v. Chester, 730

F.3d 58, 63 (1st Cir. 2013) (“The right to reserve claims [under England] arises only when the

district court abstains under Pullman.”). Moreover, the record is abundantly clear that even if the

Court had effectively abstained under Pullman, S&W, in raising the above-referenced

constitutional arguments in New Jersey Superior Court, broadened the scope of the state court’s

court review to consider those claims. And by “includ[ing these] claims, [S&W] effectively asked

the state court to resolve the same federal issues they [now assert they] asked it to reserve. England

does not support the exercise of any such right.” Id. at 340.

       The Court is also unpersuaded by the principal argument advanced in S&W’s sur-reply

that the Supreme Court’s June 23, 2022 decision in, N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen,



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142 S.Ct. 2111 (2022), materially changes the nature of its constitutional claims or otherwise

injects new life into them. See D.E. 71-1. In Bruen, the Court ruled that “an individual’s right to

carry a handgun for self-defense outside the home” is a constitutional right under the Second

Amendment. 142 S.Ct. at 2112. Bruen further found that New York State’s requirement that

applicants who sought unrestricted licenses to carry a concealed pistol on their person

“demonstrate[] a special need for self-defense” violated the Constitution. Id. Bruen, in short,

governs the analysis for laws that burden an individual’s Second Amendment right to armed self-

defense; it does not speak to the primary issue in this case, i.e., whether S&W’s constitutional

rights have been abridged by the State’s issuance of the Subpoena and its related CFA

investigation. The State’s CFA investigation is not, as S&W characterizes it, a Bruen-related

“firearm regulation.” D.E. 71-1 at 4. The Bruen decision accordingly does not, as S&W argues,

represent “an intervening change in the applicable law that [forecloses application of preclusion

principles] and requires a new determination on the merits.” Id. at 5.

       The Court is likewise hard-pressed to give any credence to S&W’s claim that it did not

receive a full and fair opportunity to litigate its constitutional claims in the Superior Court Action

because of the expedited and summary nature of that proceeding. See D.E. 67 at 8-11 (“The

procedural and substantive weaknesses, which are inherent in summary actions, make such actions

inappropriate for the application of preclusion.”).

       To begin with, such a claim ignores the express provisions within the New Jersey Court

Rule governing summary proceedings that: (1) allow for a defendant to demand a trial by jury, see

N.J. Ct. R. 4:67-4(b); and (2) enable the Superior Court to convert the summary proceeding into a

plenary one “for good cause shown,” see N.J. Ct. R. 4:67-5. S&W likewise fails to acknowledge

that New Jersey’s “entire controversy doctrine, codified by R. 4:30A requires defendant to seek



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leave to file a counterclaim or cross-claim in the summary action in order to preserve it, despite

the likely severance of such a claim.” See Pressler & Verniero, Rules Governing the Courts of the

State of New Jersey (2023), N.J. Ct. R. 4:46-4 at Comment 1. Importantly, S&W does not appear

to have availed itself of any of these available remedies during the summary proceeding in Superior

Court. S&W’s apparent failure to do so should not now be a basis for it to assert that it did not

receive a full and fair opportunity to litigate its constitutional claims in state court. Furthermore,

it is unclear to this Court how allowing additional “[f]ulsome discovery” in the District Court

Action, see D.E. 67 at 10, would so fundamentally alter the strength of S&W’s underlying

constitutional claims, which, by S&W’s own admission, are already well-supported by extensive

citations to the public record.

       C. The Second Circuit’s Exxon Mobil Decision

       The State, in support of its claim that the third element of res judicata has been satisfied,

relies heavily on the Second Circuit’s decision in the factually-analogous Exxon Mobil

Corporation v. Healey, 28 F.4th 383 (2d Cir. 2022). See D.E. 66-1 at 14-19. The Court finds that

Exxon Mobil persuasively demonstrates why dismissal of S&W’s amended complaint under the

doctrine of res judicata is appropriate. There, the Massachusetts Attorney General, in 2016,

commenced an investigation into whether Exxon committed consumer or securities fraud by

misrepresenting its knowledge of climate change. Id. at 388. In April 2016, the Massachusetts

Attorney General served a Civil Investigative Demand (“CID”) on Exxon to investigate potential

violations of Section 2 of Massachusetts General Laws chapter 93A, which prohibits unfair or

deceptive acts or practices in trade or commerce. Id. at 388-89. “The CID focused on the

marketing and sale of fossil fuel products to Massachusetts consumers, and on the marketing and

sale of Exxon securities to investors.” Id. at 389.



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       On June 15, 2016, Exxon filed a federal civil rights complaint against the Attorney General

of Massachusetts seeking declaratory and injunctive relief. Id. “Among other things, Exxon

sought to enjoin the CID, alleging that the Massachusetts investigation was pretextual and violated

the dormant Commerce Clause and Exxon’s rights under the First Amendment, its right to be free

of unreasonable searches under the Fourth Amendment, and its due process rights under the

Fourteenth Amendment.” Id. On November 10, 2016, Exxon amended its federal complaint to

allege that the investigation was biased and conducted with improper political motives, and pointed

to public comments made by the Massachusetts AG which purportedly supported this claim. Id.

       On June 16, 2016, one day after Exxon filed its original complaint against the

Massachusetts Attorney General in federal court, Exxon separately petitioned a Massachusetts

Superior Court to set aside the CID. Id. In that petition, Exxon contended, among other things,

that the CID violated state constitutional protections for free speech and freedom from

unreasonable searches, and that the CID was arbitrary and capricious.              Id. at 389-90.

Acknowledging that its petition raised issues that potentially overlapped with those in its federal

suit, Exxon requested that the Massachusetts Superior Court grant a stay pending the outcome of

the federal litigation. Id. at 390. The Massachusetts Attorney General cross-moved to compel

Exxon to comply with the CID. Id.

       On January 11, 2017, the Massachusetts Superior Court denied Exxon’s petition to set aside

the CID and granted the Massachusetts Attorney General’s motion to compel. Id. The Superior

Court rejected Exxon’s assertion that the Attorney General’s actions constituted political bias or

viewpoint discrimination rising to the level of arbitrary and capricious conduct, determining

instead that the Attorney General had “assayed sufficient grounds – her concerns about Exxon’s

possible misrepresentations to Massachusetts consumers – upon which to issue the CID” and thus



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acted in good faith. Id. The state court also expressly declined to consider Exxon’s free speech

claim at that time, reasoning that the Attorney General was still investigating whether Exxon’s

statements or omissions in communications to consumers were misleading or deceptive, and that

misleading or deceptive speech would not be “entitled to any free speech protection.” Id.

       On March 29, 2018, the federal trial court issued an order dismissing Exxon’s amended

federal complaint with prejudice, finding “that Exxon’s claims against the Massachusetts Attorney

General were barred by res judicata – also known as claim preclusion – since Exxon could have

raised those claims in the Massachusetts proceeding.” Id.

       The Second Circuit agreed that Exxon’s federal claims against the Massachusetts Attorney

General were precluded by res judicata. Id. at 398. In so doing, it expressly rejected Exxon’s

argument that res judicata did not apply because the claims asserted in the federal action were not

raised in or decided by the Massachusetts state court. Id. The Second Circuit found that Exxon’s

state court petition and federal complaint both concerned the same essential violations of legal

rights and both identified the same relevant injury: the CID’s alleged violation of various federal

constitutional provisions and their state analogues. Id. at 399. The fact that the actions arose in

different procedural circumstances – via an action to stop CID enforcement in the state case versus

an affirmative § 1983 claim in federal court – did not alter that conclusion. Id. at 400. The federal

appeals court also made a point to note that “Exxon itself implied that the two actions involved

overlapping claims – not merely overlapping arguments – in its state court filings.” Id. at 400.

       The Second Circuit also held that it was immaterial that the two actions sought nominally

different remedies: So long as the same relief was available in the Massachusetts proceeding, the

fact that Exxon opted to seek different forms of relief in the two actions was irrelevant to the issue

of claim preclusion. Id. The federal appeals court also expressly rejected Exxon’s claims that the



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two proceedings were sufficiently distinct for purposes of res judicata because: (1) the state

proceedings pertained to the enforcement of a specific CID, while the federal action sought an

injunction of the Massachusetts Attorney General’s investigation; and (2) certain declaratory and

injunctive relief available for its affirmative § 1983 claims would not have been available in the

“limited” CID proceeding. Id. In so doing, the court made a point to note that “the specific relief

that Exxon now claims was available only in federal court – namely, an injunction prohibiting

pretextual investigations and ending the Massachusetts Attorney General’s investigation – was

equally available in state court.” Id. The Second Circuit also rejected Exxon’s contention that res

judicata did not apply because the Massachusetts CID proceeding was limited in nature and thus

failed to provide Exxon with a full and fair opportunity to litigate its federal claims. Id. at 401.

       Here, as in Exxon Mobil, S&W’s state court petition and its federal complaint both concern

the same essential violations of legal rights. Both identify the same relevant injury: the Subpoena

and related investigation’s alleged violation of various federal constitutional provisions. The fact

that the District Court Action and the Superior Court arose in different procedural circumstances

– via a cross-motion to quash the Subpoena in a state court summary proceeding versus affirmative

§ 1983 claims in federal court – does not alter that reality. In that respect, it is immaterial – as it

was in Exxon – that S&W may have sought nominally different remedies in the two actions:

Because the same relief was available to S&W in the New Jersey proceeding, the fact that S&W

may have opted to seek different forms of relief in the two actions is irrelevant to the issue of claim

preclusion. The Court likewise finds that the limited nature of the summary action in Superior

Court did not deprive S&W of a full and fair opportunity to litigate its federal claims.




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       D. Res Judicata Bars Litigation of the Present Action

       For the reasons detailed above, the Court finds, with respect to the third element of res

judicata: (1) that the acts S&W complained of in the District Court Action and the Superior Court

Action, i.e., that the New Jersey Attorney General’s Subpoena and its associated CFA investigation

represents an unconstitutional infringement of S&W’s rights, and its demands for relief, i.e., that

enforcement of the Subpoena be halted, are the same; (2) that S&W’s theory of recovery in both

actions is the same; (3) that the evidence necessary for S&W to prove its claims in both matters is

substantially the same; and (4) that the material facts alleged in support of S&W’s claims in both

actions are the same. As noted, the first two elements of res judicata have also been satisfied as:

(1) Judge Alper’s June 30, 2021 order compelling S&W to respond to the Subpoena represents a

prior final judgment on the merits; (2) in a suit involving the same parties. The Court accordingly

concludes that S&W’s claims in the District Court Action are barred by res judicata. Again,

“[f]ederal courts owe due respect to state courts.” Smith & Wesson Brands, Inc. v. Att’y Gen. of

New Jersey, 27 F.4th 886, 896 (3d Cir. 2022). The Court will accordingly dismiss S&W’s

amended complaint with prejudice.

IV.    CONCLUSION

       For the reasons above, the State’s motion to dismiss is GRANTED. S&W’s amended

complaint is accordingly dismissed with prejudice.



Dated: December 27, 2022                                            /s/ Evelyn Padin
                                                                    Evelyn Padin, U.S.D.J.




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